Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 1 of
                                        12



                                    Exhibit A
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 2 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 3 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 4 of
                                        12
Case 10-93904-BHL-11            Doc 2890-1     Filed 05/12/16       EOD 05/12/16 14:07:54        Pg 5 of
                                                   12



                    12.  A,recntent Nonscvera[rle and Mutually Dependent. All provisions ol'this
 Settlement Agreement are to be read in conjunction with each other. Each and every provision
 contained in this Settlcntenl Agreement is nonseverable arrd mutually dependent on each and
 every other provision contained herc'in. Provisions should be rcad togethcr so as to hamronize
 thc whole.
                    13.No Admission of Fault or l.iability. This Settlement Agreernent is a
 comprornise of disputed clainrs and is not to be construed as an admission of liability or
 wrongdoing on the part of either party.
                  14. No Presumption Against Dratler. This Settlement Agreement was jointly
 drafied and there shall be no presumption against or burden placed on one party tbr its rolc in the
 draliing ol' the Agreement.
                    tN WITNESS WHEREOF, the Parties have executed this Settlement Agreement
 on the dates indicated below.




                                       Andrew'l'- Kight
                                       'l'aft Stettinius & Holli
                                       Cottnsel.for Bill Ehe rle
                                       Onc Indiana Square. Suite 3500
                                       lndianapolis. lndiana 46204
                                       Tel: (317) 713-3500 Iax: (317) 713-36e9


                                       Date:
                                                  q     /Yr         Lolb


                                       James A Knauer as Chapter I I l'rustee tbr the Debtor,
                                       Flastern Livestock.. LLC




                                                   sl trl       r




us. tffil4l38e 0l
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 6 of
                                        12



                                    Exhibit 1
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 7 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 8 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 9 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 10 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 11 of
                                        12
Case 10-93904-BHL-11   Doc 2890-1   Filed 05/12/16   EOD 05/12/16 14:07:54   Pg 12 of
                                        12
